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19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 2 of 65
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19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 4 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 5 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 6 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 7 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 8 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 9 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 10 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 11 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 12 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 13 of 65
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19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 15 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 16 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 17 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 18 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 19 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 20 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 21 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 22 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 23 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 24 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 25 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 26 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 27 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 28 of 65
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19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 30 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 31 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 32 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 33 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 34 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 35 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 36 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 37 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 38 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 39 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 40 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 41 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 42 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 43 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 44 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 45 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 46 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 47 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 48 of 65
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19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 50 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 51 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 52 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 53 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 54 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 55 of 65
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19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 57 of 65
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19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 59 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 60 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 61 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 62 of 65
19-46681-mbm   Doc 1   Filed 05/01/19   Entered 05/01/19 14:00:03   Page 63 of 65
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